      Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 1 of 69            FILED
                                                                      2015 Dec-02 AM 10:23
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


              UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ALABAMA
                   SOUTHERN DIVISION


GREATER BIRMINGHAM
MINISTRIES; and ALABAMA STATE
CONFERENCE OF THE NATIONAL
ASSOCIATION FOR THE
ADVANCEMENT OF COLORED                        Civil Action No. _________
PEOPLE,

                       Plaintiffs,

                 v.

STATE OF ALABAMA; ROBERT J.
BENTLEY, in his official capacity as
Governor of Alabama; LUTHER J.
STRANGE, in his official capacity as
the Alabama Attorney General; JOHN
MERRILL, in his official capacity as the
Alabama Secretary of State; and
SPENCER COLLIER, in his official
capacity as the Secretary of the
Alabama Law Enforcement Agency,

                       Defendants.




                             COMPLAINT
         Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 2 of 69



                             INTRODUCTION

     Since the turn of this century, approximately 22.4 million votes have

been cast in Alabama elections. In that time, there has been only one

documented case where one Alabama voter sought to impersonate another.

Despite the extreme rarity of voter fraud, in June 2011, the Alabama

Legislature enacted House Bill 19 (“HB 19”), a law whose purported

purpose is to prevent voter fraud by requiring voters to present

photographic identification to vote in-person or absentee (the “Photo ID

Law”).

     According to the Alabama Secretary of State, the Photo ID Law was

estimated to immediately disfranchise at least 280,000 registered voters. If

the Photo ID Law remains in place, hundreds of thousands more eligible

and registered voters will be barred from voting in the years to come.

     It is no accident that a disproportionate number of those

disfranchised voters are African-American and Latino. Indeed, the Photo

ID Law is simply the latest chapter in Alabama’s long and brutal history of

intentional racial discrimination. For five decades, Alabama’s use of

discriminatory voting schemes has necessitated repeated federal

intervention. Now, Alabama again seeks to disfranchise thousands of




                                         2
       Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 3 of 69



African-American and Latino voters—all in the name of “curing” a voter

fraud problem that does not exist.

      Although the law was passed in 2011, Alabama did not immediately

seek to implement it. At that time, all voting law changes in Alabama were

subject to preclearance review pursuant to Section 5 of the Voting Rights

Act (52 U.S.C. §10304). Under Section 5, Alabama was obligated to obtain

approval from the Department of Justice or a three-judge federal court

before enforcing new voting laws that might burden voters of color. But

Alabama never sought preclearance review for its Photo ID Law. Instead,

for two years, Alabama delayed implementation of the law, awaiting the

final resolution of the Shelby County, Alabama v. Holder lawsuit, in which

a county in Alabama sought to challenge the constitutionality of the

preclearance regime.

      June 25, 2013 was the day Alabama had been waiting for. On that

date, the U.S. Supreme Court lifted Alabama’s nearly fifty-year-old

preclearance obligations. The very next day, free of its preclearance

obligations, Alabama announced that it would enforce its Photo ID Law for

the 2014 election cycle.

      The Shelby County decision, however, did not block suits challenging

voting restrictions that are racially discriminatory under other provisions of



                                         3
       Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 4 of 69



the Voting Rights Act or the United States Constitution. Alabama’s Photo

ID Law is just such a prohibited restriction.

      Accordingly, Plaintiffs allege as follows:

I.    SUMMARY OF VOTING RIGHTS CLAIMS
      A.    The Discriminatory Photo ID Law
            1.    The Photo ID Law restricts in-person and absentee voting

      to individuals who are able to produce one of seven required forms of

      “valid” photo ID. A prospective in-person voter without the required

      photo ID cannot cast a regular ballot unless two election officials

      present at the polling place choose to “positively identify” that person.

      Ala. Code § 17-9-30(e) (2011) (the “Positively Identify Provision”). All

      other prospective in-person voters, and nearly all other absentee

      voters without the required photo ID, must cast a provisional ballot

      that will be counted only if the prospective voter provides a

      designated election official with the required photo ID within a

      limited period of time before or after Election Day.

            2.    The Photo ID Law was conceived and operates as a

      purposeful device to further racial discrimination, and results in

      Alabama’s African-American and Latino (or Hispanic) voters having

      less opportunity than other members of the electorate to participate




                                          4
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 5 of 69



effectively in the political process and to elect candidates of their

choice.

      3.    Recently, Defendants have significantly increased the

burdens on African-American and Latino voters caused by the Photo

ID Law. For example, Defendants have greatly reduced the operating

hours of certain locations where individual voters are able to obtain

the principal forms of required photo ID—driver’s licenses and non-

driver IDs issued by the Alabama Law Enforcement Agency (“ALEA,”

formerly the Alabama Department of Public Safety). This action has

deepened the inequalities of opportunity that the Photo ID Law

places on African-American and Latino voters.

      4.    Accordingly, Plaintiffs seek to enjoin the enforcement by

Defendants of the Photo ID Law for in-person and absentee voters,

because the Photo ID Law was enacted with a racially discriminatory

purpose and the law has had and will have a discriminatory effect, in

violation of Section 2 of the Voting Rights Act (“VRA”), 52 U.S.C. §

10301 (“Section 2”), and the Fourteenth and Fifteenth Amendments

of the United States Constitution, pursuant to 42 U.S.C. § 1983. See

U.S. Const., amends. XIV & XV, 42 U.S.C. § 1983.




                                    5
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 6 of 69



B.      The Undefined “Positively Identify” Provision Is an
        Unlawful Voucher Requirement.

        5.   Plaintiffs also challenge Defendants’ failure to define or

provide for the nondiscriminatory administration of the Positively

Identify Provision of the Photo ID Law, which causes it to serve as an

unlawful “voucher” requirement on registered voters who lack the

required photo ID and seek to exercise their constitutional right to

vote.

        6.   The Positively Identify Provision provides that a

registered voter who lacks the photo ID required to vote in person on

Election Day may cast a regular ballot only if she or he is “positively

identified by two election officials as a voter on the poll list who is

eligible to vote and the [two] election official[s] . . . sign a sworn

affidavit so stating.”

        7.   Defendants have failed to adopt final administrative rules

governing the meaning or application of the Positively Identify

Provision, leaving that provision undefined and placing complete

discretion in the hands of election officials to decide when and how

they may “positively identify” a prospective voter as eligible to cast a

regular ballot. Thus, the undefined Positively Identify Provision

allows election officials to apply arbitrary and capricious


                                     6
       Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 7 of 69



      qualifications to the disproportionately African-American and Latino

      voters who lack the required photo ID, and to potentially apply a

      wholly different set of qualifications to otherwise similarly situated

      white voters.

            8.    The undefined Positively Identify Provision therefore

      imposes a requirement, as a prerequisite to voting, that prospective

      voters without the required photo ID prove their qualifications by the

      voucher of two election officials, which is a test or device that is per se

      prohibited by Section 201 of the Voting Rights Act (52 U.S.C. §

      10501).

II.   JURISDICTION AND VENUE
            9.    This Court has jurisdiction over this action pursuant to 28

      U.S.C. §§ 1331, 1343, 1357, 2201, 52 U.S.C. §§ 10301, 10308(f),

      10310(e), and 42 U.S.C. §§ 1983, 1988.

            10.   Venue is proper pursuant to 28 U.S.C. §§ 124(b)(6),

      1391(b).

III. PARTIES
      A.    Plaintiffs
            11.   Organizational Plaintiff Greater Birmingham Ministries

      (“GBM”) was founded in 1969 in response to the urgent human rights

      and justice needs of the residents of the greater Birmingham,


                                           7
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 8 of 69



Alabama area. GBM is a multi-faith, multi-racial organization that

provides emergency services for people in need. It engages in

community efforts to create systemic change with the goal of building

a strong, supportive, and politically active society that pursues justice

for all people.

      12.   A central goal of GBM is the pursuit of social justice in the

governance of Alabama. GBM actively opposes state laws, policies,

and practices that result in the exclusion of vulnerable groups or

individuals from the democratic process. Toward that end, GBM

regularly engages in efforts to register, educate, and increase turnout

among African-American and Latino voters, as well as low-income

voters in general. GBM has participated in lawsuits to vindicate these

democratic principles.

      13.   As a result of the Photo ID Law, GBM is now required to

undertake such activities as (1) assessing who, among its constituency

of African-American and Latino voters, lacks the required photo IDs

and/or determining which underlying documents each constituent

needs in order to obtain the required photo ID; (2) helping to educate

African-American and Latino voters, as well as the general public,




                                    8
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 9 of 69



about the Photo ID Law; and (3) encouraging Defendants to mitigate

the most egregious discriminatory effects of the Photo ID Law.

      14.   Thus, the Photo ID Law is causing, and will continue to

cause, GBM to divert a portion of its limited financial and other

organizational resources to educating African-American and Latino

voters in Alabama about the requirements of the Photo ID Law, and

assisting registered voters with complying with that law in order to

vote. As a result, GBM is limited, and will continue to be limited, in

the resources that it can devote to its other core organizational goals.

      15.   Organizational Plaintiff Alabama State Conference of the

National Association for the Advancement of Colored People (“the

Alabama NAACP”) is a state subsidiary of the National Association for

the Advancement of Colored People, Inc. The Alabama NAACP is the

oldest and one of the most significant civil rights organizations in

Alabama, and it works to ensure the political, educational, social, and

economic equality of African Americans and all other Americans.

      16.   Two central goals of the Alabama NAACP are to eliminate

racial discrimination in the democratic process, and to enforce federal

laws and constitutional provisions securing voting rights. Toward

those ends, the Alabama NAACP has participated in numerous



                                    9
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 10 of 69



lawsuits to protect the right to vote, regularly engages in efforts to

register and educate African-American voters, and encourages

African Americans to engage in the political process by turning out to

vote on Election Day.

      17.   The Alabama NAACP is now, as a result of the Photo ID

Law, required to undertake such activities as: (1) assessing who,

among its constituency, lacks the required photo IDs and/or

determining which underlying documents each constituent needs in

order to obtain the required photo ID; (2) assisting and educating

African Americans, and the general public, about complying with the

Photo ID Law; and (3) encouraging Defendants to mitigate the most

egregious discriminatory effects of the Photo ID Law.

      18.   Thus, the Photo ID Law is causing, and will continue to

cause, the Alabama NAACP to divert a portion of its financial and

other organizational resources to educating African-American voters

in Alabama about the requirements of the law, and assisting

registered voters with complying with it in order to vote. As a result,

the Alabama NAACP is limited, and will continue to be limited, in the

resources that it can devote to its other core organizational goals.




                                    10
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 11 of 69



B.    Defendants
      19.   Defendant State of Alabama is a State of the United

States.

      20.   Defendant Robert J. Bentley is being sued in his official

capacity as the Governor of Alabama. The Governor of Alabama is a

constitutional officer who is vested with the supreme executive power

of the State, is the chief magistrate of the State, and, as such, is

charged with enforcing the Photo ID Law, and any related

administrative rules. Ala. Const., art. V, § 113.

      21.   Defendant Luther J. Strange, III is being sued in his

official capacity as Attorney General of Alabama. As a constitutional

officer and member of the State’s executive department, the Attorney

General of Alabama is the State’s chief legal representative, and, as

such, is charged with enforcing the Photo ID Law, and its

administrative rules. Ala. Const., art. V, § 112.

      22.   Defendant John Merrill is being sued in his official

capacity as the Secretary of State of Alabama. As a constitutional

officer and member of the State’s executive department, the Secretary

of State is Alabama’s chief election official. Ala. Const., art. V, § 112.

He is charged with administering elections and the absentee voting



                                     11
          Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 12 of 69



      system, and implementing the Photo ID Law, including issuing voter

      photo ID cards and promulgating the administrative rules.

              23.   Defendant Spencer Collier is being sued in his official

      capacity as the Secretary of the Alabama Law Enforcement Agency,

      the Alabama agency tasked with issuing a number of accepted photo

      IDs under the Photo ID Law.

IV.   FACTUAL ALLEGATIONS
      A.      Alabama Demographics
              24.   According to the 2010 Census, Alabama’s total population

      is 4,779,736, with a non-Hispanic white1 population of 3,204,402

      (67.04%), an African-American alone population of 1,244,437

      (26.03%), and a Latino population of 185,602 (3.88%).

              25.   According to the 2009-2013 American Community

      Survey, eleven of Alabama’s 67 counties have a majority-African-

      American population. Each of these counties has a significantly

      higher African-American alone population than the State as a whole:

      Macon County (81.2%), Greene County (80.8%), Lowndes County

      (74.0%), Sumter County (73.1%), Wilcox County (72.9%), Bullock

      County (70.9%), Dallas County (68.8%), Perry County (68.3%), Hale

      1    All references to “white alone” Census counts in this Complaint
are to non-Hispanic whites.


                                           12
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 13 of 69



County (59.1%), Montgomery County (55.2%), and Marengo County

(52.1%).

     26.      According to the 2009-2013 American Community

Survey, none of Alabama’s 67 counties has a majority Latino

population.

     27.      According to the 2014 American Community Survey, the

voting age population (“VAP”) of Alabama was 3,647,817, with a

white alone VAP of 2,544,727 (69.7%), an African-American alone

VAP of 954,944 (26.1%), and a Latino VAP of 67,220 (1.8%).

     28.      According to the 2009-2013 American Community

Survey, the VAP of the majority-African-American Alabama counties

was 293,016, with a white alone VAP of 109,311 (37.3%), an African-

American alone VAP of 175,711 (60.0%), and a Latino VAP of 3,424

(1.2%).

     29.      According to the 2011-2013 American Community Survey,

African Americans (31.7%) and Latinos (35.5%) in Alabama

experience poverty at nearly three times the rate of whites (13%); and

white per capita income ($27,282) is nearly double African-American

per capita income ($15,516) and more than double Latino per capita

income ($13,089).



                                  13
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 14 of 69



      30.   According to the 2011-2013 American Community Survey,

13.5% of African-American households in Alabama lack a vehicle, as

compared to 4.1% of white households, and African Americans are

over five times as likely as whites, and Latinos are over three times as

likely as whites, to use public transportation to commute to work.

According to the 2006-2010 American Community Survey, 5.69% of

Latino households in Alabama lack a vehicle, as opposed to 3.87% of

white households.

      31.   According to the 2006-2010 American Community

Survey (the most recent Census survey to tabulate vehicle ownership

by race at a county level), 15.2% of African-American households in

the majority-African-American counties lack a vehicle, as compared

to 3.6% of white households in those counties. And according to the

2009-2013 American Community Survey, African Americans in the

majority-African-American counties in Alabama are over three times

as likely as whites in those counties to use public transportation to

commute to work.

      32.   The lack of a vehicle is a particularly difficult burden to

overcome in Alabama, which invests no state money in public

transportation, and which, in 2011, ranked 48th nationwide in



                                    14
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 15 of 69



intercity transit access for rural residents because 844,000 rural

residents had no access to intercity transit services.

      33.    According to the 2010 Census, 30.3% of African-American

family households and 21.8% of Latino family households in Alabama

have a single parent and related child under the age of 18, compared

to 9.4% of white family households in Alabama.

      34.    According to the 2014 American Community Survey,

56.0% of African-American households in Alabama have broadband

Internet access, compared to 69.3% of white households in Alabama.

B.    The Passage of the Photo ID Law Was Motivated by a
      Discriminatory Purpose.
      1.     The History of Racial Discrimination in Voting in
             Alabama
      36.    In 1965, Alabama was declared a covered state under

Section 4(b) of the Voting Rights Act, based on the State’s

enforcement of unconstitutional tests or devices, including voucher

requirements, as well as low voter registration and turnout rates. See

South Carolina v. Katzenbach, 383 U.S. 301, 312-13 (1966)

(“Discriminatory administration of voting qualifications has been

found in all eight Alabama cases. . . . Negroes obliged to obtain

vouchers from registered voters have found it virtually impossible to

comply . . . .”).

                                   15
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 16 of 69



      37.   Because of its history of burdening the voting rights of

people of color, Alabama remained a covered state for almost fifty

years. For example, during the reauthorization of the Voting Rights

Act in 2006, Congress was presented with extensive evidence

documenting the State’s sustained record of unconstitutional and

illegal racial discrimination in voting. See, e.g., Renewing the

Temporary Provisions of the Voting Rights Act: Legislative Options

after LULAC v. Perry: Hearing Before the Subcommittee on the

Constitution, Civil Rights and Property Rights of the Senate

Committee on the Judiciary, 109th Cong. 365-402 (July 13, 2006).

      38.   For more than five decades, continuing to the present,

Alabama’s use of racially discriminatory voting schemes has

necessitated federal intervention. See, e.g., Alabama Legislative

Black Caucus v. Alabama, 135 S. Ct. 1257 (2015) (redistricting); City

of Pleasant Grove v. United States, 479 U.S. 462 (1987) (selective

annexations); Hunter v. Underwood, 471 U.S. 222 (1985) (felon

disfranchisement); U.S. Dep’t of Justice, Civil Rights Division, Voting

Section, Alabama Voting Determination Letters,

http://www.justice.gov/crt/records/vot/obj_letters/state_letters.php

?state=al (last visited Dec. 1, 2015) (listing all objections imposed



                                    16
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 17 of 69



against Alabama under Section 5 of the Voting Rights Act, including

24 objections from 1990 to 2008, as well as pre-1990 objections to

voter re-identification and literacy requirements).

      39.   In the last decade, Alabama has continued to employ

voting practices that illegally result in the denial or abridgement of

the right to vote for African-American and Latino voters and limit

their opportunity to participate equally in the political process. For

example, in January 2014, a federal court in the Southern District of

Alabama “bailed-in” the City of Evergreen in Conecuh County for

preclearance under Section 3(c) of the Voting Rights Act because

voter registrars and election officials there continue to

unconstitutionally discriminate against African-American voters.

      2.    The Alabama Legislature That Passed the Photo
            ID Law Was Elected in a Highly Racially Charged
            Environment.
      40.   In the 2008 presidential election, African-American voter

turnout and political engagement increased significantly as compared

to prior elections.

      41.   The Alabama general election in 2010 took place against a

backdrop of significant growth of the African-American and Latino

population. The African-American population grew by 9.6% between



                                   17
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 18 of 69



the 2000 and 2010 censuses, and Latino population grew by 144.8%

during that same time.

      42.   In the 2010 elections, the Republican Party, for the first

time in over 136 years, won majorities in the Alabama Senate and

House of Representatives. The electorate was highly racially

polarized, and the 2010 campaigns were characterized by overt and

subtle racial appeals.

      43.   For example, in order to win the 2010 elections, State

Senators Scott Beason and Benjamin Lewis, along with other

legislators, engaged in a deliberate strategy that was designed to

“suppress black votes by manipulating what issues appeared on the

2010 ballot.” United States v. McGregor, 824 F. Supp. 2d 1339, 1345-

47 (M.D. Ala. 2011). In recorded conversations, Senators Beason,

Lewis and other legislators and their compatriots, were caught

singling out African-American voters for “mockery and racist abuse.”

Id. at 1346. These recorded conversations included references to

African-American voters as “Aborigines” and “Indians,” and the

prediction that, if a gambling referendum appeared on the 2010

ballot, “[e]very black, every illiterate” would be “bused on HUD

financed buses” to the polls. Id. Senator Ben Brooks and other



                                   18
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 19 of 69



Alabama state legislators were also present for or engaged in these

recorded “racist statements.” Id. at 1345-48. The district court found

that Senators Beason and Lewis and other legislators’ plan—i.e., to

stop the gambling referendum from appearing on the 2010 ballot in

hopes of depressing African-American voter turnout—constituted an

intentionally discriminatory “scheme” to “maintain and strengthen

white control of the political system,” and that “political exclusion

through racism remains a real and enduring problem in this State.”

Id. at 1347.

      3.       The Specific Sequence of Events Leading to the
               Passage and Implementation of the Photo ID Law
      44.      In 2011, the newly elected Alabama Legislature prioritized

the enactment of a bill that required photographic proof of identity to

vote either in-person or absentee.

      45.      The Alabama statute requiring presentation of a photo

identification to vote at the polls or through an absentee ballot was

introduced as HB 19 on March 1, 2011 by Alabama State

Representative Kerry Rich. On March 22, 2011, after the House

majority used the cloture procedure to truncate any debate, the

Alabama House of Representatives passed HB 19, the bill that became

the Photo ID Law. Representative Kerry Rich was the sole House


                                     19
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 20 of 69



sponsor of HB 19. Every single African-American representative who

cast a vote on the bill voted against it.

      46.   On June 9, 2011, HB 19 was approved by the Senate. The

bill was sponsored and supported by many of the same state

legislators who were engaged in or present for the aforementioned

recorded conversations that disparaged African-American voters. For

example, State Senators Beason, Brooks, and others of that group of

legislators co-sponsored Senate Bill 86, the companion bill to HB 19.

Those same legislators also voted in favor of HB 19. The Senate

majority limited debate to only 20 minutes. Every single African-

American senator who was present voted against the bill.

      47.   The Alabama Legislature knew or should have known that

African-American and Latino registered voters disproportionately

lack the required photo ID. Defendants know or have reason to know

that African-American and Latino eligible voters disproportionately

lack the required photo ID. Moreover, Alabama legislators opposed

to photo ID requirements had specifically argued that such

requirements would disfranchise African-American voters.

      48.   The Alabama Legislature knew or should have known that

the Photo ID Law would impose a substantial burden on many voters,



                                     20
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 21 of 69



particularly African-American and Latino voters, in light of the

economic and demographic factors discussed above.

     49.   There is no substantial evidence of in-person voter

impersonation or noncitizen voting in Alabama. Over the 12-year

period prior to the Photo ID Law’s passage, there was just one

documented instance of voter impersonation and one documented

instance of non-citizen voting.

     50.   The proponents of the Photo ID Law knew or should have

known that the absentee photo ID requirement would be “futile” at

preventing voter impersonation fraud since “there would be no way

for the state election officials to determine whether the photo ID

actually belonged to the absentee voter, since he wouldn’t be

presenting his face at the polling place for comparison with the

photo.” Crawford v. Marion Cnty. Election Bd., 472 F.3d 949, 954

(7th Cir. 2007), aff’d sub nom. 553 U.S. 181 (2008).

     51.   Defendant Bentley signed the Photo ID Law into law on

June 15, 2011. At that time, Alabama was one of nine completely

“covered state[s]” under Section 5 of the Voting Rights Act, which

meant that Alabama could not enforce the Photo ID Law without first




                                  21
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 22 of 69



obtaining preclearance from the U.S. Department of Justice or a

federal three-judge court.

     52.   Although it was subject to these preclearance rules at the

time the Photo ID Law was enacted, Alabama never sought or

received preclearance to enforce the law or related rules. Instead,

Alabama delayed implementation of the law pretextually, so that it

could implement it without the burden of preclearance.

     53.   On June 25, 2013, the U.S. Supreme Court issued its

opinion in Shelby County, Alabama v. Holder, 133 S. Ct. 2612 (2013),

declaring unconstitutional Section 4(b) of the Voting Rights Act, 52

U.S.C. § 10303(b), which is the coverage provision of Section 5 of the

Act. 133 S. Ct. at 2631. Because without Section 4(b) Section 5 has no

present effect, the Shelby County decision resulted in Alabama no

longer being governed by the preclearance requirement.

     54.   On June 26, 2013, one day after the Supreme Court

removed the preclearance hurdle, Defendants, the Alabama Attorney

General and Secretary of State, announced that the Photo ID Law

would be implemented and enforced immediately.

     55.   On June 29, 2013, just three days later, the Secretary of

State issued proposed administrative rules for the Photo ID Law.



                                  22
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 23 of 69



Until that time, the Defendant Secretary of State had claimed that the

State’s two-year failure to submit the Photo ID Law for preclearance

was due to alleged delays in drafting such rules.

      56.   On October 22, 2013, the Secretary of State issued final

administrative rules for the Photo ID Law generally, and on April 16,

2014, the Secretary of State issued supplemental emergency

administrative rules governing the Positively Identify Provision. The

administrative rules governing the Photo ID Law generally are now

final, while the emergency administrative rules governing the

Positively Identify Provision have since expired.

      57.   Except as described in the Photo ID Law and

implementing administrative rules, neither the Alabama Legislature

nor Defendants have otherwise altered the Photo ID Law.

      4.    The Alabama Legislature’s Contemporaneous
            Passage of Racially Discriminatory Voter
            Registration ID Requirements and of
            Discriminatory Redistricting Plans Confirm Its
            Discriminatory Purpose in Passing the Photo ID
            Law.
      58.   The Photo ID Law was passed by the same Alabama state

legislature that passed an intentionally racially discriminatory voter

registration ID requirement and intentionally racially discriminatory

2012 redistricting of the Alabama Senate and House.


                                   23
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 24 of 69



      59.   On June 2, 2011, the same Legislature that enacted HB 19

almost simultaneously passed House Bill 56 (“HB 56”), “a

comprehensive and far-reaching state immigration law.” Cent. Ala.

Fair Hous. Ctr. v. Magee, 835 F. Supp. 2d 1165, 1169 (M.D. Ala.

2011), vacated sub nom. on other grounds, 2013 WL 2372302 (11th

Cir. May 17, 2013). The bill “attack[ed] every aspect of an illegal

immigrant’s life” by severely restricting undocumented immigrants’

and their citizen children’s access to employment, housing, and

educational opportunities. 835 F. Supp. 2d at 1169-70 (quoting Rep.

Micky Ray Hammon). According to Senator Beason, a co-author of

the bill, HB 56 was “designed to reduce the number of illegal aliens in

the state” by the “self-deportation” of undocumented immigrants. Id.

at 1182 (quoting Transcript of Nov. 23, 2011 Hearing, Cent. Ala. Fair

Hous. Ctr. v. Magee, Doc. No. 68, at 118 (Statement of Sen. Beason)).

Fourteen of the seventeen Alabama senators that cosponsored Senate

Bill 256, the companion bill to HB 56, also cosponsored the Photo ID

Law in the Senate (Senate Bill 86).

      60.   HB 56 contains a voter registration ID requirement

whereby a person must provide documentary proof of citizenship,

such as a birth certificate, an ALEA-issued STAR driver’s license or



                                   24
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 25 of 69



non-driver ID card, a U.S. passport, a naturalization document, or

various similar documentation, in order to register to vote. The

documentary proof of citizenship required by HB 56 is similar to that

required by the Photo ID Law in order to vote or obtain the required

photo ID. Although the voter registration ID requirement in HB 56

was submitted to the United States Department of Justice for

administrative preclearance, that submission was withdrawn on May

15, 2013, and HB 56 was never precleared. On December 18, 2014,

the Defendant Secretary of State announced that Alabama would

enforce the voter registration ID requirement in HB 56.

      61.   African-American legislators voted overwhelmingly in

opposition to HB 56.

      62.   Senator Beason had earlier in 2011 explained this

expected opposition to HB 56 in overtly racial and political terms,

stating that the legislative opponents of HB 56 “do not want to solve

the illegal immigration problem because they know, this is a fact, that

when more illegal immigrants move into an area, when their children

grow up and get the chance to vote, they vote for [the political

opposition].”




                                   25
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 26 of 69



      63.   In December 2011, a federal district court in Alabama

enjoined portions of HB 56 after finding substantial evidence of

intentional racial discrimination in the 2011 legislative debates,

including state legislators using “illegal immigrant as a code for

Latino or Hispanic” and making “comments that reflect popular

stereotypes about Mexicans and [drew] explicit distinctions along the

lines of race and national origin.” Magee, 835 F. Supp. 2d at 1192-94

& nn.20-21.

      64.   The statements made by Representative Rich, the sole

sponsor of the Photo ID Law and a cosponsor of HB 56, during the

House debates over HB 56, were specifically cited by the district court

as evidence demonstrating both the discriminatory intent behind HB

56 and “the numerous ways in which legislators frequently conflated

illegal immigration and Hispanics.” Id. at 1192-94 & n.21.

      65.   In 2012, the same Alabama Legislature that enacted the

racially discriminatory Photo ID Law and HB 56 also redistricted the

State’s House and Senate. These redistricting plans were later

challenged in federal district court by African-American legislators

and voters as an unconstitutional racial gerrymander. Alabama

Legislative Black Caucus v. Alabama, 989 F. Supp. 2d 1227 (M.D.



                                   26
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 27 of 69



Ala. 2013) (three-judge court). In 2015, the United States Supreme

Court remanded the case to the district court after determining that

the Alabama Legislature had very likely engaged in intentional racial

discrimination through gerrymandering that targeted African-

American voters in violation of the Fourteenth Amendment.

Alabama Legislative Black Caucus v. Alabama, 135 S. Ct. 1257

(2015).

     5.    The Alabama Legislature’s Passage of the Photo
           ID Law Was Motivated by a Discriminatory
           Purpose.
     66.   As described above, the Alabama Legislature that passed

the Photo ID law was the same one that: (1) included high ranking

legislators who, in 2010, had sought to suppress African-American

voter turnout; (2) in June 2011, almost simultaneously passed HB 56

in a highly racially charged environment that was openly hostile to

Latino residents; and (3) in 2012, redistricted in a manner that the

United States Supreme Court later held very likely constituted an

unconstitutional racial gerrymandering that targeted African-

American voters.




                                  27
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 28 of 69



      67.   The Photo ID Law was passed with the same

discriminatory intent as the aforementioned 2010 electoral scheme,

2011 anti-immigrant law, and 2012 redistricting.

C.    The Photo ID Law Results in African-American and
      Latino Voters Having Less Opportunity Than White
      Voters to Participate in the Political Process and Elect
      Candidates of Their Choice in Alabama.
      68.   The Photo ID Law restricts in-person and absentee voting

to individuals who possess one of seven specific forms of “valid”

photo ID (the “required photo ID”): (1) a driver’s license or a non-

driver ID card issued by ALEA; (2) a valid Alabama photo voter

identification card, which may be used for the sole purpose of voting;

(3) a photo ID issued by a branch, department, agency, or entity of

Alabama, another state, or the United States, including a government

employee photo ID; (4) a U.S. passport; (5) a photo ID issued by an

Alabama public or private college, university, or postgraduate

technical or professional school; (6) a United States military photo

ID; or (7) a tribal photo ID. Ala. Code § 17-9-30(a)(1)-(7). An ALEA-

issued driver’s license can be expired no longer than 60 days to be

treated as an acceptable photo ID. All other required photo IDs must

be unexpired or otherwise “valid” as defined by opinion No. 2003-212

of the Alabama Attorney General.


                                   28
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 29 of 69



      69.   Under the Photo ID Law, there are no exemptions from

the photo ID requirement for in-person voting other than the

Positively Identify Provision.

      70.   The photo ID requirement even applies to absentee

voting. Voters are required to include a photocopy of their photo IDs,

in a separate envelope, when they mail in their absentee ballots.

African-American and Latino voters are less likely than white voters

to have access to the copiers, scanners, or printers required to provide

such photocopies. For absentee voting, the only exemption from the

photo ID requirement is for absentee ballots submitted pursuant to

federal law, such as the Uniformed and Overseas Citizens Absentee

Voting Act or the Voting Accessibility for the Elderly and

Handicapped Act. See Ala. Code § 17-9-30(c); Ala. Admin. Code §

820-2-9-.12. Defendants have failed to issue administrative rules that

provide an exemption from the photo ID requirement for absentee

ballots cast in Presidential and Vice Presidential elections, submitted

pursuant to the Voting Rights Act, 52 U.S.C.A. § 10502 (d).

      71.   The Photo ID Law disproportionately and substantially

abridges the opportunities of African-American and Latino voters to

participate equally and effectively in the political process in Alabama



                                   29
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 30 of 69



in at least three ways: (1) African-American and Latino voters are less

likely than white voters to possess the required photo IDs; (2)

African-American and Latino voters face greater obstacles than do

white voters in obtaining the required photo IDs; and (3) on

information and belief, the photo ID requirement has

disproportionately disfranchised African-American and Latino voters.

        72.   The general purpose Photo IDs available to Alabama

voters are those issued by ALEA: the driver’s license and the non-

driver photo ID. As set forth below, substantial obstacles prevent

poor voters (who are disproportionately African-American and

Latino) from obtaining those two forms of ID. Nor does the Voter ID

card made available by the Secretary of State remedy this problem,

for substantial obstacles also prevent poor (and disproportionately

African American and Latino) voters from obtaining the Voter ID

card.

        1.    Disproportionate Possession of the Required
              Photo IDs
        72.   African-American and Latino voters comprise a

disproportionate subset of (1) registered voters who lack the required

photo IDs and (2) eligible, but unregistered prospective voters who

lack the required photo IDs.


                                   30
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 31 of 69



     73.   ALEA-issued photo IDs are the most common forms of

the required photo ID.

     74.   According to a statement from the Defendant Secretary of

State’s office made in March 2014, a check of Alabama registered

voters against the ALEA database revealed that 560,000 people, or

about 20% of registered voters, lack an ALEA-issued driver’s license

or non-driver ID card (the “No-Match List”).

     75.   Based on the No-Match List, Defendant Alabama

Secretary of State further estimated in March 2014 that about half of

those 560,000 voters who lack ALEA-issued photo IDs possess

another one of the required photo IDs. Thus, Defendant Secretary of

State concluded that approximately 280,000 registered voters lack

any form of the required photo ID.

     76.   Defendants know or have reason to know the self-

reported race of each of those voters on the No-Match List; and, thus,

Defendants know or have reason to know that African-American and

Latino voters comprise a disproportionate subset of those voters who

appear on the No-Match List because they disproportionately lack

ALEA-issued photo IDs.




                                  31
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 32 of 69



      77.   Defendants have refused or otherwise failed to make the

No-Match List available to Plaintiffs and others who have requested

it.

      2.    Disproportionate Obstacles to Obtaining the
            Required Photo IDs
      78.   As described below, the strict requirements of the Photo

ID Law and the implementing administrative rules place substantial

travel, financial, and time burdens on large numbers of eligible voters

in Alabama, a disproportionate subset of whom are African-American

or Latino (including constituents of Plaintiffs), thereby burdening,

denying, or abridging their right to vote.

            a)    ALEA-Issued Driver’s Licenses
      79.   To obtain a driver’s license, a voting-age applicant must:

(1) pay $36.25 to purchase the license, (2) pay a $5 test fee and pass

the road test, and (3) come with an already-licensed driver, proof of

car insurance, and a vehicle that will pass inspection. This fee

structure imposes a cost that is beyond the means of many

impoverished voters (who are disproportionately African-American

and Latino).

      80.   In addition to paying a fee for the driver’s license, a voter

must present various forms of documentation. In particular, the


                                   32
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 33 of 69



voter must include with his or her application one or more “primary”

documents, which include: (a) a certified U.S. birth certificate [$15 ]

(b) a U.S. passport; (c) an Alabama identification card [$36.25]; (d) a

certificate of naturalization [$345]; a certificate of citizenship [$600];

(e) a U.S. certificate of birth abroad [$50]; (f) a resident alien card

[$450 for a renewal or replacement card]; or (g) a valid foreign

passport with a valid U.S. immigration document. A fee must be paid

for each of these documents when used to obtain a driver’s license.

      81.   Moreover, even if a voter can afford a driver’s license, the

process of obtaining one entails substantial burdens that

disproportionately impact African Americans and Latinos. In many

Alabama counties, ALEA offices are inaccessible because of their

remote locations and limited hours of operation. Such offices are

generally only open during working hours and many are not open

during the lunch hour.

      82.   Recently, Defendants made ALEA offices

disproportionately less accessible to African-American voters seeking

to obtain the required Photo ID by significantly reducing the already

extremely limited hours of operation of these offices in 27 largely

poor, rural counties. African-American voters make up a larger



                                    33
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 34 of 69



proportion of the population in these 27 counties than in other parts

of the State where ALEA office hours were not reduced.

      83.   On September 30, 2015, Defendants announced that

ALEA would permanently close 31 part-time ALEA offices, including

offices in eight of eleven contiguous counties in the so-called “black

belt”—a string of counties where more than 130,000 eligible voters

reside, nearly half of whom are African-American, and where the

African-American poverty rate is 41%. These closures would have

disproportionately burdened eligible African-American voters seeking

to obtain the photo ID required to vote under the Photo ID Law.

      84.   Defendant Bentley reported that, in 2014, 17% (1,472 out

of 8,654) of the first-time ID issuances from the 31 affected ALEA

offices were in the eight “black belt” counties. Closures of the ALEA

offices in these eight counties would further reinforce the

disproportionate barriers to voting faced by residents of such

counties, which have high rates of poverty and limited transportation

options.

      85.   In response to public outcry over the proposed ALEA

closures, including concerns raised by Plaintiffs, Defendant Bentley

announced on October 16, 2015 that, rather than close completely,



                                   34
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 35 of 69



the 31 affected ALEA offices would remain open one day per month.

Because the affected offices had previously been open one to two days

per week, Defendant Bentley’s revised plan for the 31 ALEA offices

constitutes a significant reduction in office hours at these offices.

And because the reductions affect the same counties that were

previously slated for closure, the revised plan still exacerbates the

difficulties faced by African-American and Latino residents of these

counties in obtaining the required photo IDs.

               b) Non-driver ALEA Photo IDs
      86.   Voters can also obtain a non-driver ALEA Photo ID from

an ALEA office. The fee for obtaining such an ID is also $36.25. The

regulations governing this ID indicate that Alabama will waive that

fee when the ID is obtained for the purpose of voting, see

Administrative Rule 820-2-9-.04, however, the ALEA website does

not advertise this option. In order to obtain such a fee waiver, a voter

must provide an affidavit, swearing that he or she does not have any

form of “valid” voting ID. Thus, to provide the required affidavit, an

individual must understand the nuances of what constitutes a legally

“valid” ID, including (1) whether an expired ID counts; (2) whether

the address on the ID must be current; (3) whether the name must be



                                    35
         Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 36 of 69



     an exact match; (4) whether the ID has been issued by a “branch” of

     the State; and (5) whether the ID remains “valid” if it has been

     damaged. The answers to these questions are not clear, and vary

     across types of ID.2 This by itself constitutes a substantial

     impediment.

             87.   Even if the voter is successful in obtaining a fee waiver for

     the non-driver ALEA ID itself, he or she must still have the requisite

     underlying documentation. This includes certain “primary”

     documents, all of which can be obtained only by paying a fee, with

     one impractical exception. The “exception” is an Alabama birth

     certificate, for which the $15 fee will be waived only if the voter can

     attest that he or she does not have one of the enumerated forms of

     voting IDs. This creates a substantial barrier for almost all voters for

     the reasons set forth above.

             88.   Finally, should a voter be able to afford the non-driver

     ALEA ID and/or navigate the substantial obstacles imposed by the

     affidavit requirements, then he or she is still faced with the obstacles


     2       For example, an Alabama driver’s license remains valid for 60
days after expiration and even if the address is no longer correct. See
Alabama Attorney General Opinion 2003-212 (Aug. 12, 2003), at 6-7. Yet
other IDs are apparently invalid upon expiration and may not be used to
vote after a change of address.


                                          36
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 37 of 69



created by the limited hours and locations of the ALEA offices, set

forth above.

               c) The disproportionate burdens faced by
                  African- American and Latino voters in
                  obtaining ALEA IDs
     89.    African-American and Latino voters in Alabama are

disproportionately impoverished and have a lower rate of vehicle

ownership. Accordingly, they face a disproportionate burden in

obtaining ALEA-issued “valid” photo IDs given the cost of obtaining

IDs, the cost of the underlying documentation needed to acquire

those IDs, and the transportation burdens associated with that

endeavor.

     90.    For many, transportation barriers are a severe obstacle to

obtaining the requisite Photo ID. ALEA offices are less accessible to

African-American and Latino voters, particularly given (1) African-

American and Latino voters’ disproportionately low rates of car

ownership that would facilitate transport to an ALEA office as well as

to offices that issue the documentation required to obtain ALEA-

issued IDs, as reinforced by (2) the reduction in hours and locations

of ALEA offices described above.




                                   37
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 38 of 69



      91.   G.A.’s situation clearly demonstrates the magnitude of

this transportation burden. G.A. is a U.S. citizen and resident of

Franklin County, Alabama. G.A is Latina, a full-time student, and a

senior in high school. When G.A. turns eighteen in December 2015,

she will be eligible to register to vote, and she intends to register to

vote. She also plans to vote in the 2016 elections. However, G.A.

does not have a driver’s license or any of the other required photo

IDs. G.A. is also not personally acquainted with the election officials

at her anticipated polling place. The closest driver’s license issuing

office to G.A. is only open one day a month. The next closest is

located in Sheffield, an approximately 45-mile drive roundtrip, and is

only open from 8 am to 4:30 pm on weekdays. G.A. does not own a

car, nor has she ever driven one. Her parents have access to vehicles,

but both parents work full-time and are unable to drive G.A. to

Sheffield during that ALEA office’s normal hours. For example, her

father leaves for work as early as 4:00 am and works up to twelve

hours or more per day. There is no public transportation from

Franklin County to Sheffield. It would be unduly burdensome for

G.A. or her parents to take time off from work or school to go to the




                                    38
          Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 39 of 69



      ALEA offices in Sheffield or Franklin County during those offices’

      limited hours of operation.

                       d) Single-Purpose “Voter ID” Cards
              93.   A person lacking any of the other six enumerated “valid”

      categories of photo ID can obtain a Voter ID card that can only be

      used for voting. While these Voter ID cards may be obtained from the

      county boards of registrars or mobile ID units (collectively, “photo

      ID-issuing offices”), African-American and Latino voters

      disproportionately face significant burdens in obtaining cards from

      these photo ID-issuing offices due to their limited hours of operation

      and their locations, which are inaccessible to public transportation.

              94.   In order to obtain a Voter ID card, the voter must present

      (1) a photo identity document3 (or a non-photo identity document

      showing his or her full legal name and date of birth4), (2)


      3     Acceptable photo identity documents include: (i) a high school
student ID card; (ii) a student or employee ID card from a private
university outside Alabama; (iii) a private employee ID card; (iv) a nursing
home or hospital ID card; and (v) a wholesale club or other membership
card.
      4      Acceptable non-photo ID documents include: (i) Birth
Certificate; (ii) Hospital or nursing home record; (iii) Marriage Record; (iv)
State or Federal Census Record; (v) Military Record; (vi) Medicare or
Medicaid document; (vii) Social Security Administration Document; (viii)
Certificate of Citizenship; and (ix) Official school record or transcript.


                                          39
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 40 of 69



documentation showing his or her date of birth, (3) documentation

showing that he or she is registered to vote, and (4) documentation

showing his or her name and address as they appear in the voter

registration records. Ala. Code § 17-9-30(j).

      95.   The documents required to obtain a Voter ID card are

often costly. The documents of broadest applicability that would

confirm a voter’s name and date of birth—requirements (1) and (2),

set forth above—are a birth certificate and/or marriage license. A

copy of a birth certificate or marriage license—to support a name

change, for example—costs $15.00 each. Although Defendants

purport to provide Alabama birth certificates for free to those persons

in need of Voter ID cards, this appears to be an infrequently-used

option. For example, the mobile ID units processed only one such

request in 2015. Defendants do not provide birth certificates for

individuals born out-of-state.

      96.   Upon information and belief, African-American and

Latino voters are less likely than white voters to possess the required

documents, such as a birth certificate. This is particularly the case for

elderly African-American voters who are more likely to have been

born at home and less likely to have had their births registered.



                                   40
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 41 of 69



      97.   Furthermore, the administrative rules implementing the

Voter ID card provision of the Photo ID Law, and in particular the

Instructions that accompany the application form, state that: (1) a

person can apply for a Voter ID card only if he or she does not have

any of the other photo IDs required to vote in Alabama; (2) a person

should not complete the application if he or she has any of the other

required photo IDs; (3) the application must be signed and sworn,

and (4) any falsification or fraud in making the application is a Class

C felony. Ala. Admin. Code § 820-2-9-.03. The requirement that a

person applying for a Voter ID card sign an affidavit swearing under

the penalty of a Class C felony conviction that the contents of the

prospective voter’s application are true, discourages eligible voters

from applying for the Voter ID card. Ala. Code § 17-9-30(i).

      98.   The required application also requires parsing deeply

ambiguous language. In order to determine whether one is even

eligible to apply for a Voter ID card, an individual must understand

the nuances of what constitutes a legally “valid” ID, including (1)

whether an expired ID counts; (2) whether the address on the ID

must be current; (3) whether the name must be an exact match; (4)

whether the ID has been issued by a “branch” of the State; and (5)



                                   41
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 42 of 69



whether the ID remains “valid” if it has been damaged. As noted

above, the answers to these questions are not clear and vary across

types of ID.

      99.      Even if a voter can navigate the labyrinth of obstacles

constructed by Alabama in order to obtain a truly “free” Voter ID

card, he or she must still find a way to get to an office that issues such

IDs. Given the limited locations of such offices and their limited

hours, this is a daunting impediment. Boards of registrars are located

at the county seat and often inside of county courthouses. These

locations are disproportionately inaccessible to African-American and

Latino potential voters because—as noted above—African-American

households are more than three times as likely, and Latino

households are approximately one and a half times as likely, as white

households to lack a vehicle. They are particularly inaccessible to

rural African-American and Latino voters seeking a Voter ID card,

who necessarily lack driver’s licenses.

      100. The boards of registrars’ limited office hours add to their

inaccessibility. Many boards of registrars’ offices are open only

during regular weekday business hours, from approximately 8:30

a.m. to 4:00 or 4:30 p.m., and are closed on weekends and during the



                                      42
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 43 of 69



lunch hour. African-American and Latino voters are

disproportionately burdened by the need to take time off from school

or work, arrange for alternative child or family-care, and expend their

limited financial, material, and other resources in order to obtain the

Voter ID card.

      101. Defendant Bentley’s office has stated that Alabama made

“extensive” efforts to ensure “statewide availability” of photo IDs via

“mobile events.” In fact, mobile ID units have failed to increase the

accessibility of Voter ID cards, because they are seldom available and

offer only limited and inconvenient hours. Over the past year, most

Alabama counties have received only a single one-day visit from a

mobile ID unit. When available, the units are typically only open for a

two- to four-hour window during morning work hours; they are rarely

open on weekends; and they are usually closed during the lunch hour.

In addition, the mobile ID units are not “mobile” in any practical

sense since they typically stay in a single location within a county,

often near the also inaccessible office of the board of registrars. As a

result, the mobile ID units are no more accessible than the boards of

registrars’ offices and are disproportionately inaccessible to African-

American and Latino voters for the same reasons. Indeed, as of mid-



                                   43
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 44 of 69



October 2015, mobile ID units had processed only 29 voter IDs in

Alabama in 2015, with nearly half (14) of those IDs issued in the

disproportionately white (81.8% of voting age citizens) county of

Limestone.

      102. As a result of the barriers Defendants have imposed on

the ability to obtain Voter ID cards and the burdens identified in this

Complaint, an immaterial number of Voter ID cards have been

issued. Although Defendants expected to issue 12,000 Voter ID cards

in advance of the November 2014 elections, only approximately 5,020

Voter ID cards were issued by that time. As of October 2015,

Defendants had issued only a total of 6,736 Voter ID cards in the last

two years.

             e)   Other Categories of Valid Photo ID
      103. The remaining forms of “valid” Photo ID—U.S. passports,

“other” valid state or federal photo IDs or government employee

photo IDs, college and university IDs, military IDs, and tribal IDs—

are not realistic options for many African-American or Latino voters

to use.

      104. In order to obtain a new U.S. passport, an applicant must

pay fees totaling $135 and must provide further documentation,



                                   44
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 45 of 69



much of which costs money to obtain. Because African-American and

Latino people in Alabama are disproportionately burdened by

poverty, and have lower per capita salaries than whites, they are

disproportionately burdened by the requirements for obtaining a U.S.

passport.

      105. With regard to the fourth form of “valid” photo ID,

Alabama has been vague and failed to specify what forms of ID

constitute a “valid identification card issued by a branch, department,

agency, or entity of the State of Alabama, any other state, or the

United States authorized by law to issue personal identification.” The

“valid” government employee photo ID category is similarly vague.

This ambiguity sows confusion and places discretion in the hands of

election officials that may be used to the detriment of African-

American and Latino voters. For example, the law permits individual

election officials to decide whether to treat a particular photo ID card

as falling within these broad “other” categories of “valid” photo ID

under the Photo ID Law.

      106. The remaining three forms of “valid” Photo ID—college

and university IDs, military IDs, and tribal IDs—are available only to

certain Alabama residents: students, military personnel, and



                                   45
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 46 of 69



members of Native American tribes. Because only a small minority of

voting-age Alabama citizens fall within these categories, these

categories of ID are not readily available to the great majority of

Alabama voters and do not represent a practical alternative form of

ID for Plaintiffs and other African-American and Latino voters who

lack driver’s licenses and non-driver IDs.

       3.   The Photo ID Law Disfranchised Willing Voters in
            Alabama in the 2014 Elections.
       107. The June 3, 2014 primary election and November 4, 2014

general election were the first two statewide elections in Alabama that

occurred after the implementation and enforcement of the Photo ID

Law.

       108. Under the Photo ID Law, in-person voters who lack the

required photo ID on Election Day or absentee voters who fail to

submit the required photo ID with their absentee ballots may cast

provisional ballots. A provisional ballot for an in-person voter is

counted only if the voter returns to the Board of Registrars with the

required photo ID by the Friday after Election Day. Ala. Code § 17-

10-2(a)(3). A provisional ballot for an absentee voter is counted only

if the voter is properly notified and able to return a copy of the

required photo ID to the Board of Registrars by the Friday before


                                   46
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 47 of 69



Election Day. Ala. Code § 17-10-2(c)(1). Voters who lack the

necessary photo ID thus cannot meaningfully take advantage of such

“failsafe” provisional voting.

      109. At least 629 provisional and absentee ballots (66

provisional and 563 absentee) cast in the 2014 primary and general

elections by voters without the required photo ID were not counted

because the voters failed to “cure” their ballots pursuant to the Photo

ID Law’s inadequate failsafe procedures.

      110. During the June 2014 primary, eligible registered voters

were turned away at the polls because they lacked the required Photo

ID. For example, news reports described the experience of Willie

Mims, a 93-year-old African-American man who had voted in every

election for as long as the State kept records and was one of the

people who was turned away because he lacked the required ID. Mr.

Mims did not drive or have a reason to own one of the required forms

of photo ID for any purpose other than for voting. Mr. Mims passed

away in July 2015; he was denied his last opportunity in life to vote.

      111.   Following the June 2014 primary, Plaintiffs sent a letter

to the Secretary of State explaining that, based on the full or partial

responses to information requests sent to the relevant election



                                   47
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 48 of 69



officials in 49 Alabama counties, Plaintiffs had learned that at least

282 provisional and absentee ballots cast were not counted in the

June 2014 primary because otherwise eligible voters had not

submitted the required photo ID, and that about 40% of those ballots

were from majority-African-American counties.

      112. In the November 2014 election, the first general election

in which the Photo ID Law was enforced, eligible voters were again

deterred from voting or turned away at the polls because they lacked

the required photo ID. Prior to the November 2014 election, for

example, Plaintiff GBM spoke with several prospective voters who

said that they would not vote because they lacked the required photo

ID. On Election Day, Plaintiff GBM also encountered a number of

African-American voters without the required photo ID, including a

fifty-seven year-old African-American woman residing in Jefferson

County. The voter was initially turned away by election officials

because she lacked the required photo ID and no election official was

willing to “positively identify” her. The voter was offered a

provisional ballot only after the intervention of Plaintiff GBM.

Because she could not provide the required ID, her ballot was never

counted.



                                   48
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 49 of 69



      113. The turnout rate in Alabama for the November 4, 2014

election was 41%, the lowest voter turnout in an Alabama general

election in the last 28 years. Upon information and belief, some of

the voters who did not vote in this election were deterred from doing

so due to the imposition of the Photo ID Law.

      114. Following the November 4, 2014 general election,

Plaintiffs again contacted election officials in 47 counties and found

that at least 347 provisional and absentee ballots cast by otherwise

eligible voters were not counted in that election because those voters

had failed to provide the required photo ID. The majority of these

discarded ballots came from counties with significant African-

American and Latino populations, including 124 discarded ballots

from Jefferson County (47% African-American and Latino), 94 ballots

from Mobile County (35% African-American), 32 from Montgomery

County (56% African-American), 22 from Choctaw County (43%

African-American), and 13 from Perry County (68% African-

American).

      115. Upon information and belief, during the 2014 elections, a

significant portion of those voters who lacked the required photo ID

(1) failed to appear at the polls; (2) did not cast a provisional ballot or



                                    49
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 50 of 69



were not offered provisional ballots by election officials; (3) were not

“positively identified” by two election workers as provided for by the

Photo ID law; or (4) cast provisional ballots that went uncounted

because they were unable to “cure” their ballots by obtaining and

submitting the necessary photo ID within the period provided for by

the Photo ID law.

      116. The problems experienced by the African-American

constituents of Lee County Commissioner John A. Harris exemplify

this improper burden. Mr. Harris represents a majority-African-

American district. He met with at least two African-American

constituents over the age of seventy-five whose absentee ballots were

rejected in the November 2014 elections because they could not

provide copies of the required photo IDs with their absentee ballots.

For example, one of Mr. Harris’s constituents is retired, has never

possessed a driver’s license, and does not own a car. That voter

mailed in an absentee ballot and a photocopy of a senior citizen photo

ID card. The voter subsequently received a letter from election

officials notifying her that her ballot had been rejected because she

failed to submit the required photo ID. The second African-American

constituent of Mr. Harris similarly had her absentee ballot rejected



                                   50
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 51 of 69



after Defendants determined that photo IDs issued by public housing

authorities are not acceptable for voting under the Photo ID Law.

      4.     The Discriminatory Implementation of the Photo

             ID Law

      117. Upon information and belief, during the June 3, 2014

primary election, local election officials in two disproportionately

white counties, Jackson County (89.8% white population, 3.6%

African-American population) and Randolph County (75.0% white

population, 20.2% African-American population), waived the Photo

ID Law for absentee voters. Given the demographics of these

counties, this practice resulted in the Photo ID Law’s burdens falling

more heavily on African-American and Latino voters statewide than

on whites.

      118. Upon information and belief, election officials in Alabama

have selectively enforced and will continue to selectively enforce the

Photo ID Law in unconstitutional ways that impose heavier burdens

on African-American and Latino voters.




                                   51
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 52 of 69



      5.    Alabama’s Photo ID Law Interacts with Historical
            and Social Conditions to Limit Opportunities for
            African-American and Latino Voters to
            Participate Equally in the Political Process.
      119. Race, color, and membership in a language minority

group continue to be determinative factors in citizens’ access to

Alabama’s political process, as discussed above and reflected by the

following: (1) Alabama has a history of state-sponsored racial

discrimination in voting; (2) Alabama elections at all levels are

plagued by racially polarized voting; (3) African-American and Latino

voters continue to bear the effects of racial discrimination in

education, employment, health and other socioeconomic areas,

including lower average household vehicle ownership,

disproportionately high levels of single-parent households, and

disproportionately high rates of poverty, which hinder their ability to

participate effectively in the political process; (4) Defendants have

engaged in electoral practices, such as severely limiting the times and

places for obtaining the required photo ID, that magnify the

substantial burdens that the Photo ID Law imposes on African-

American and Latino voters; (5) electoral campaigns in Alabama

involve racial appeals; (6) Defendants are less responsive to the

concerns of African-American and Latino voters than to the concerns


                                   52
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 53 of 69



of white voters; and (7) the purported rationales for the Photo ID

Law, such as ensuring electoral integrity and preventing voter fraud,

are tenuous at best and false in reality because there is no factual

basis to support these rationales, nor can it be shown that the Photo

ID Law serves these stated rationales.

      120. As described above, the process of obtaining and

maintaining a valid photo ID imposes substantial and material

burdens on voters, in particular the poor. Because African Americans

and Latinos in Alabama continue to bear the effects of discrimination

in areas such as education, employment, housing, and criminal

justice, African-American and Latino voters experience poverty at

three times the rate of whites, have much lower vehicle ownership

rates than white households, and disproportionately live in single-

parent homes. As a result, the significant burdens associated with

obtaining and maintaining valid photo ID fall disproportionately on

African-American and Latino voters.

D.    The Photo ID Law’s Positively Identify “Voucher”
      Provision Violates the Voting Rights Act.
      1.    The Provision and Lack of Administrative
            Regulations
      121. The Alabama Photo ID Law includes a Positively Identify

Provision that requires any otherwise eligible in-person voter who

                                   53
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 54 of 69



lacks the required photo ID on Election Day to be vouched for under

oath by two election officials before casting a regular ballot. The

provision states: “[A]n individual who does not have valid photo

identification in his or her possession at the polls shall be permitted

to vote if the individual is positively identified by two election officials

as a voter on the poll list who is eligible to vote and the election

officials sign a sworn affidavit so stating.” Ala. Code § 17-9-30(e).

      122. The Positively Identify Provision does not define

“positively identify”; and it does not restrict, nor does it provide any

guidance concerning, the methods or forms of identification that may

be relied upon by an election official to “positively identify” a

prospective voter under this prerequisite to voting. Upon information

and belief, African-American and Latino voters who lack driver’s

licenses are also less likely than white voters who lack driver’s

licenses to be personally acquainted with two election officials at their

polling places.

      123. Because the Positively Identify Provision on its face

provides election officials with the unfettered discretion to determine

on a case-by-case basis what methods or forms of ID are sufficient to

“personally identify” a prospective voter who lacks the required photo



                                     54
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 55 of 69



ID, the Provision gives election officials the arbitrary and potentially

discriminatory power to decide who is or is not permitted to cast a

regular ballot.

      2.    The Undefined Provision Violates Section 201.
      124. The undefined Positively Identify Provision is a “test or

device” that violates Section 201 of the Voting Rights Act by imposing

a requirement that a citizen without the required photo ID must

prove his or her qualifications by the voucher of the election officials

present at the precinct. 52 U.S.C. §§ 10501 (b)(4) (proscribing “any

requirement that a person as a prerequisite for voting . . . prove his

qualifications by the voucher of registered voters or members of any

other class”) (emphasis added).

      125. The undefined Positively Identify Provision gives election

officials in Alabama the arbitrary power to accept or reject any

prospective voter without the required photo ID, and to waive the

onerous Photo ID Law for personal acquaintances and/or any other

prospective voters for whom the two election officials are willing to

sign an oath. This requirement is per se illegal under Section 201 of

the Voting Rights Act and disproportionately affects Black and Latino

voters who lack the required photo IDs.



                                   55
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 56 of 69



      126. The statute limits the “class” of people who can vouch for

a citizen to the small number of election officials who are assigned to

and present at the particular precinct when the citizen seeks to vote,

and requires two such persons from that small class to “positively

identify” the voter; therefore, the Positively Identify Provision is even

more restrictive than a requirement that a voter be vouched for by the

much larger class of “registered voters,” a requirement that is also

expressly prohibited by Section 201 (52 U.S.C. § 10501 (b)(4)).

E.    Defendants’ Lack of Responsiveness to Plaintiffs’
      Concerns Regarding the Discriminatory Photo ID Law
      128. Defendants have not been responsive to the concerns and

needs of African-American and Latino voters with respect to the

Photo ID Law or the Positively Identify Provision.

      129. On March 3, 2014, Plaintiffs sent a letter to the Defendant

Alabama Secretary of State requesting that he issue administrative

rules for the Positively Identify Provision that are nondiscriminatory,

uniform, and consistent with the Voting Rights Act and the United

States Constitution. That letter explained the potential effect and

illegality of the undefined Positively Identify Provision, and offered

reasonable suggestions for nondiscriminatory administrative rules for

implementing the Positively Identify Provision.


                                   56
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 57 of 69



      130. On March 24, 2014, the Secretary of State wrote to

Plaintiffs to acknowledge there was “merit to [the] request that [this]

office promulgate an additional administrative rule that will provide

uniform guidance throughout the State as to how positive

identification is to be established by election officials.”

      131. On March 26, 2014, Plaintiffs again wrote to the

Defendant Secretary of State to ask that he provide reasonable

administrative rules for the Positively Identify Provision that would

be consistent with Section 201 of the Voting Rights Act.

      132. On April 16, 2014, the Defendant Secretary of State

certified two emergency administrative rules, Ala. Admin. Code §§

820-2-9-.14, 820-2-9.15, interpreting the Positively Identify Provision

to preclude election officials from positively identifying a prospective

elector by any means other than “personal acquaintance” that allows

the official to state “with certainty and with no doubt or reservation”

that the voter is who he/she says he/she is. 2014 Ala. Reg. Text

360145, 360201. The emergency rules remained in effect for no

longer than 120 days, and thus expired no later than August 2014.

      133. On April 18, 2014, the Defendant Secretary of State

proposed two administrative rules, Ala. Admin. Code §§ 820-2-9-.14,



                                    57
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 58 of 69



820-2-9.15, interpreting the Positively Identify Provision in the same

manner as did the emergency rules. 2014 Ala. Reg. Text 360200.

      134. On May 29, 2014, the NAACP Legal Defense &

Educational Fund, Inc. provided comments on the proposed

administrative rules that reiterated Plaintiffs’ concerns that the

proposed rules violate Section 201 of the Voting Rights Act, and the

Fourteenth and Fifteenth Amendments to the Constitution. Those

comments explained that the proposed administrative rules were

nearly identical to Alabama’s past unconstitutional “supporting

witness” requirement, and mirrored the past exemption to Alabama’s

poll tax, whereby white acquaintances of the poll tax collector were

afforded privileges that were not equally available to African

Americans. The letter concluded by again offering specific

suggestions for rules that would be nondiscriminatory, such as

allowing election officials to “positively identify” an individual lacking

the required photo IDs if that individual could (1) answer simple

questions about identifying information in the poll book, (2) sign an

affidavit confirming her or his identity, or (3) produce a form of

identification that had been permissible under Alabama’s past non-

photo voter ID law, such as a voter registration card.



                                    58
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 59 of 69



      135. On June 6, 2014, the Secretary of State issued a press

release stating that, despite the criticisms of the proposed rules for

the Positively Identify Provision, he had “no intention of interpreting

this law” in a manner different from that provided for in the proposed

rules. Thus, the Secretary of State confirmed that he would interpret

the law to mean that a prospective voter without a valid Photo ID

could be positively identified by poll workers only by “personal

acquaintance” and that would allow the official to state “with

certainty and with no doubt or reservation that the voter is who

he/she says he/she is.”

      136. As of August 2014, the Positively Identify Provision’s

emergency rules expired, and the proposed rules did not become final

rules. Since then, including during the November 2014 election,

there have been no administrative rules defining or otherwise

governing the Positively Identify Provision.

      137. On September 3, 2014, Plaintiffs wrote to Defendant

Secretary of State to raise concerns that (1) the Photo ID Law had

disfranchised hundreds of voters in the 2014 primary election; (2)

Defendant had not adequately made the required photo IDs

accessible to African-American and Latino voters; and (3) election



                                   59
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 60 of 69



officials in at least two counties had failed to apply the Photo ID Law

to absentee ballots.

      138. On September 26, 2014, Plaintiffs met in-person with the

Alabama Secretary of State and his staff to again raise their various

concerns about the Photo ID Law. Both at that meeting and in

correspondence thereafter, Plaintiffs requested that Defendant

Secretary of State (1) utilize the No-Match List to identify and contact

those voters who may lack the required photo ID; (2) improve the

administration of the absentee voter photo ID requirement; and,

again, (3) interpret the Positively Identify Provision consistent with

Section 201, so that election officials could provide regular ballots to

persons with whom election officials may not be personally

acquainted. In addition, Plaintiffs requested that photo IDs issued by

public housing authorities be ruled acceptable for voting under the

Photo ID Law, and that the Defendant Secretary of State operate

additional mobile ID units on weekends and in the evenings at

specific locations near African-American communities.

      139. In response to Plaintiffs’ requests, Defendant Secretary of

State accepted some of Plaintiffs’ suggestions for additional mobile ID

unit times and locations. However, the expanded mobile ID unit



                                   60
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 61 of 69



hours and locations were insufficient to address the concerns

described in this Complaint. For example, the Defendant Secretary of

State rejected Plaintiffs’ suggestion of placing mobile ID units at

several predominately African-American public housing locations.

Moreover, prior to the November 2014 election, Defendants rejected

or otherwise failed to respond to Plaintiffs’ other requests. For

instance, Defendants denied Plaintiffs’ request that public housing

authority-issued photo IDs be ruled acceptable under the Photo ID

Law.

       140. As described above, on September 30, 2015, Defendants

announced that ALEA would permanently close 31 part-time ALEA

photo ID-issuing offices, including offices in eight of the eleven

contiguous counties in the so-called “black belt.”

       141. On October 2, 2015, Plaintiffs wrote to notify Defendants

that “[b]y closing the[ ] [ALEA] offices, the State will drastically

reduce the number of sites where potential voters can obtain photo

ID, creating a substantial and disproportionate burden on African

Americans’ ability to participate in the political process in Alabama.”

Plaintiffs also noted that Defendants’ actions likely violate Section 2.

On October 9, Defendants responded to Plaintiffs’ letter and



                                    61
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 62 of 69



produced various documents but did not, at the time, agree to reverse

ALEA’s closure decision.

      142. On October 8, 2015, Defendant Merrill’s office issued a

press release in which it stated that “Alabama does not have a photo

ID concern.” In support of that assertion, the Secretary of State’s

office stated that “Alabama has 4,849,377 citizens,” and that

“2,998,969 of them are active or inactive voters.” It further stated

that “as of October 1, 2015, Alabama has 3,559,235 million citizens

with a driver’s license and 750,063 with a non-driver ID card issued

by the Department of Motor Vehicles.”

      143. On November 6, 2015, Plaintiffs wrote to Defendant

Merrill’s office, seeking clarification of the data set forth in the

October 8, 2015 press statement. In particular, Plaintiffs sought

information as to exactly how many voters with ALEA-issued IDs

were registered and/or eligible to vote. Defendant Merrill has not

responded to this request.

      144. In the context of the facts and circumstances alleged in

this Complaint, Defendants’ refusal to adopt nondiscriminatory and

reasonable administrative rules for interpreting the Positively

Identify Provision demonstrates that a purpose or effect of the Photo



                                     62
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 63 of 69



ID Law and the Positively Identify Provision is to deny or abridge the

right to vote on account of race.

        145. In the context of the facts and circumstances alleged in

this Complaint, Defendants’ failure to operate the mobile ID unit

program in a manner that materially addresses the burdens on

African-American and Latino voters associated with obtaining the

photo IDs required to vote demonstrates that a purpose or effect of

the Photo ID Law is to deny or abridge the right to vote on account of

race.

        146. In the context of the facts and circumstances alleged in

this Complaint, Defendants’ decision to significantly limit the hours

of operation for ALEA offices in the “black belt” and elsewhere

demonstrates that a purpose or effect of the Photo ID Law is to deny

or abridge the right to vote on account of race.

        147. In the context of the facts and circumstances alleged in

this Complaint, Defendants’ lack of responsiveness to the expressed

concerns and proposed solutions of Plaintiffs on behalf of African-

American and Latino voters demonstrates that a purpose or effect of

the Photo ID Law is to deny or abridge the right to vote on account of

race.



                                    63
      Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 64 of 69



     F.    The Facts Warrant Equitable Relief Under Section
           3(c).
           148. The past and ongoing record of voting discrimination in

     Alabama, including Defendants’ implementation and enforcement of

     the Photo ID Law, and their enforcement of its Positively Identify

     Provision as a statutorily prohibited and unconstitutional test or

     device, demonstrates that the State has implemented and will

     continue to implement voting laws that limit the electoral opportunity

     of African-American and Latino voters.

           149. Without Section 3(c) preclearance review, Alabama is

     likely to persist in enforcing discriminatory laws, policies, or practices

     that have the purpose or effect of violating the rights of African-

     American and Latino voters, in violation of the Voting Rights Act of

     1965 and the Fourteenth and Fifteenth Amendments of the U.S.

     Constitution.

V.   CLAIMS
     A.    Count One: The Photo ID Law Violates Section 2 of the
           Voting Rights Act (52 U.S.C. § 10301).
           150. Plaintiffs reallege the facts set forth above.

           151. In violation of the rights of Plaintiffs’ constituents to vote

     free from racial discrimination, (1) Defendants adopted and/or

     operate the Photo ID Law as an intentionally discriminatory device,


                                        64
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 65 of 69



and, as applied, (2) the Photo ID Law results in African-American and

Latino voters having less opportunity than white voters to participate

effectively in the political process and to elect candidates of their

choice.

      152. The Photo ID Law and its implementation result in a

substantial and disproportionate number of African-American and

Latino voters—who are without the required photo ID or face greater

burdens in obtaining and maintaining the photo ID required to vote

under the Photo ID Law—having less opportunity to participate

effectively in the political process in Alabama on account of race,

color, or language minority status.

B. Count Two: The Undefined Positively Identify Provision
   Violates Section 201 of the Voting Rights Act (52 U.S.C. §
   10501).
      153. Plaintiffs reallege the facts set forth above.

      154. The Photo ID Law’s undefined Positively Identify

Provision violates the prohibition on those tests or devices

enumerated in Section 201 of the Voting Rights Act, 52 U.S.C.A. §

10501, by requiring, as a prerequisite to voting, that otherwise eligible

registered voters who lack the required photo ID prove their

qualifications by the voucher of two election officials.



                                    65
       Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 66 of 69



      C. Count Three: The Photo ID Law Violates the Fourteenth
         Amendment (U.S. Const. amend. XIV, 42 U.S.C. § 1983).
            155. Plaintiffs reallege the facts set forth above.

            156. In violation of the Fourteenth Amendment to the United

      States Constitution, pursuant to 42 U.S.C. § 1983, the Photo ID Law

      was purposefully enacted or operates to deny or abridge the right to

      vote on account of race or color.

      D. Count Four: The Photo ID Law Violates the Fifteenth
         Amendment (U.S. Const. amend. XV, 42 U.S.C. § 1983).
            157. Plaintiffs reallege the facts set forth above.

            158. The Photo ID Law violates the Fifteenth Amendment to

      the United States Constitution, pursuant to 42 U.S.C. § 1983, because

      Defendants intentionally enacted or operate the law to deny or

      abridge the right to vote on account of race or color.

VI.   PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs respectfully pray that this Court:

            159. Issue a declaratory judgment, pursuant to 28 U.S.C. §§

      2201 and 2202 and Fed. R. Civ. P. 57, declaring that the Photo ID

      Law: (1) as applied, results in the denial of equal access of African-

      American and Latino voters to the political process on account of

      race, color, or membership in a language minority group, in violation

      of Section 2; (2) requires as a prerequisite to voting that Plaintiffs


                                          66
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 67 of 69



comply with a prohibited test or device in violation of Section 201;

and (3) was conceived or operates to purposefully discriminate

against African-American and Latino voters on account of race, color,

or language minority status in violation of Section 2, and the

Fourteenth and Fifteenth Amendments to the United States

Constitution.

      160. Issue an order requiring Defendants to establish

administrative rules that provide an exemption from the Photo ID

Law for those absentee ballots, Ala. Code § 17-9-30(c), cast in

Presidential and Vice Presidential elections pursuant to 52 U.S.C.A. §

10502(d).

      161. Issue an order, pursuant to 52 U.S.C. §§ 10302 (b) and

10311, enjoining enforcement of the Photo ID Law and the undefined

Positively Identify Provision unless and until Defendants issue

binding administrative rules that require election officials to

“positively identify” and provide a regular ballot to an individual who

lacks the required photo IDs if that individual can: (1) answer simple

questions about identifying information in the poll book, or (2) sign

an affidavit confirming her or his identity, or (3) produce a secure

form of non-photo identification, such as a voter registration card.



                                   67
 Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 68 of 69



      162. Issue a permanent injunction enjoining Defendants from

enforcing or giving any effect to the requirements of the Photo ID

Law, including enjoining Defendants from conducting any elections

using the Photo ID Law.

      163. Issue an order pursuant to Section 3(c) of the Voting

Rights Act, 52 U.S.C. § 10302 (c), retaining jurisdiction and requiring

Alabama and its political subdivisions to obtain preclearance, for a

necessary and appropriate period of time, from the United States

Department of Justice or this Court for any and all future changes to

any voting law, practice, standard, policy, or procedure unless and

until Defendants can show that the proposed changes do not have the

purpose and will not have the effect of denying or abridging the right

to vote on account of race, color, or language minority status.

      164. Issue an order requiring Defendants to pay Plaintiffs’

costs, expenses, and reasonable attorneys’ fees pursuant to 42 U.S.C.

§ 1988 and 52 U.S.C. § 10310(e).

      165. Grant other such relief as Plaintiffs request or the Court

deems proper and just.




                                   68
      Case 2:15-cv-02193-LSC Document 1 Filed 12/02/15 Page 69 of 69



Respectfully submitted this 2nd day of December 2015.

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                                      69
